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              Exhibit 6
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May 29, 2018

Rakuten Kobo, Inc.
Legal Department

Re: Updated Contact Information

Dear Micah Bonte-Gelok:

          I am writing in response to a complaint by Blushing Books of copyright violation
by books published under the name Zoey Ellis – “Crave to Conquer” (Myth of the Omega
1), published on or about January 18, 2018, “Crave to Capture” (Myth of the Omega 2),
published on or about March 20, 2018 and “Crave to Claim” (Myth of the Omega 3), set
for publication on or about May 23, 2018. I have been retained by Quill Ink Books Limited
and Ms. Zoey Ellis (a pen name) (hereinafter, Ms. Ellis) to represent their interests with
regard to this matter.

      The representations by Blushing Books are at best false and are at worst intentional
misrepresentations and libelous slander. There are no violations of any copyright and all
books should be restored for sale on your site.

       First, some basic principles. Copyright is a form of protection provided by the laws
of the United States to the authors of “original works of authorship” that are fixed in a
tangible form of expression. An original work of authorship is a work that is
independently created by a human author and possesses at least some minimal degree of
creativity. Copyright does not protect: 1) ideas, procedures, methods, systems, processes,
concepts, principles, or discoveries, or 2) titles, names, short phrases, and slogans. See
WORKS NOT PROTECTED BY COPYRIGHT (United States Copyright Office Circular 33).

       I have reviewed an email from Blushing Books in which it asserts similarities
between works for which they hold a copyright and the works written by Ms. Ellis, which
I presume is the reason you removed the books for sale on your site. The issues with this
purported DMCA notice are as follows:

      1. The assertions of similarities in story arc are simply incorrect, false and/or
         misleading on several points. Moreover, many of alleged similarities are
         simply part of the trope. For a more complete description of the trope, please
         see https://fanlore.org/wiki/Alpha/Beta/Omega and other sites. (As above
         noted an idea – such as a trope – cannot be copyrighted.)
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      2. The examples of purported text similarities in fact show that Ms. Ellis’ titles do
         not violate Blushing Books alleged copyrights. The examples of text in the
         complaint show no word-for-word copying of text. And the Blushing Books
         examples are taken out of context, with text both before and after the selected
         quotes being completely different. All of the examples do not support a
         copyright violation, and in fact subject Blushing Books to civil and criminal
         action under 512(f) of the Copyright Act.

      3. The reviews cited by Blushing Books refer to “feelings” and “impressions” that
         the involved books are similar. Similarities in stories do not constitute a
         violation of copyright. (Example: EL James- 50 Shades of Grey and Sylvia Day
         – Crossfire series are very similar stories and there is no violation of copyright.)
         Further, these “reviews” are extremely dubious in light of evidence that Ms.
         Cain (Blushing Books’ author) has manipulated such reviews in the past.
         (Please see attached Exhibit A, posts by Ms. Cain on Facebook.)

      4. Most incredibly, Blushing Books falsely quotes a third book, which is not yet
         published and thus cannot even have been reviewed by Blushing Books, much
         less to determine whether its alleged copyright was violated. Blushing Books
         attributes text to “Crave to Claim” that simply does not appear in that work.

      5. Furthermore, all claims and examples provided by Blushing Books are sourced
         from only one book by Ms. Ellis, Crave to Conquer, but were used as evidence
         to allege violations of three of Ms. Cain’s books (one of Ms. Ellis’s books which
         hasn’t been published yet but was set for preorder). Upon information and
         belief these claims are misleading and a clear violation of the DMCA.

      6. As to other allegations on the DMCA they are irrelevant and provide no legal
         basis for a take down notice.

        No intellectual property or copyright material of Blushing Books has been used in
Ms. Ellis’ books. As noted above, an idea nor a trope can be copyrighted. To be sure,
each of these books involves a love story between a man and a woman, which ends
happily in Ms. Ellis’s books (due for publication May 23, 2018) but ends unhappily in Ms.
Cain’s third book. (Ms. Cain kills both main characters in Reborn). Ms. Ellis’s books are
set in an epic fantasy setting with magic, while Ms. Cain’s books are set in a sci fi world
with technology. Allegations of copyrights violations are unfounded and in fact all the
plot lines and the characters in the Myth of the Omega were written by and belong to Ms.
Ellis. Ms. Ellis has applied for copyrights subject to the Copyright Act and at no time has
she been associated with Blushing Books. Moreover, the “Omegaverse” trope is an
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established sub-genre with multiple publications written under the genre, both before
and after the Blushing Books works. 1

       Ms. Ellis intends to pursue all avenues against Blushing Books for all
misrepresentations in the false and misleading DMCA take-down notices and pursue
penalties under Section 512(f) of the DMCA. The take down of these books so close to the
publication of Ms. Ellis’ third book is extremely suspicious and appears to be part of a
campaign.

        Furthermore, subject to the DMCA, please take this communication as the
Counter-Notice per Section 512(g) and be on notice that consistent with U.S. law, Ms. Ellis
is obliged to make the statement: "I swear, under penalty of perjury, that I have a good-
faith belief that the material was removed or disabled as a result of a mistake or
misidentification of the material to be removed or disabled." Please be advised that this
letter is such notice.

       You can contact me at 214-213-5554 and/or margarita.coale@gmail.com or my
client Zoey Ellis if you have any questions. And please contact me if you require an
additional information or material you need to resolve this matter, aside of this counter-
notice and the information you already have.

      This matter is of upmost importance and I appreciate you expediting the
republication of these books as soon as possible.

        Identified materials and dates of publication:

        (1) Crave to Conquer (Myth of the Omega 1), published on or about January 18,
            2018;
        (2) Crave to Capture (Myth of the Omega 2), published on or about March 20,
            2018; and
        (3) Crave to Claim (Myth of the Omega 3), set for publication on or about May 23,
            2018.




1 The Omegaverse trope has been clearly established as a fan fiction creation and has been used by many
authors including Patricia Briggs. Omegas are rare, Alphas are the largest, Betas are the second in
command. This universe doesn’t belong to a particular author nor can any entity hold copyright of it. See,
e.g., http//the omegaverse.tmblir.com/Rundown/ and many other sites that describe this trope.
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       Subject to the requirement to under Copyright law on Counter-Notices Section
512(g) we agree that service can be made to Ms. Ellis’s attorney and by her digital
signature hereby attach Ms. Ellis gives consent of such service to the following place:

Law Office of Margarita T.B. Coale
3419 Westminister Suite 298
Dallas, Texas 75205

      Ms. Ellis also gives consent to the jurisdiction of a federal in the federal district
where Rakuten Kobo Inc. is located.



                                                        Digitally Signed By:
                                                        Zoey Ellis
                                                        May 29, 2018

                                                        Margarita T.B. Coale
                                                        May 29, 2018
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                            Exhibit A
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